Case: 2:19-cv-04262-ALM-KAJ Doc #: 131 Filed: 10/21/21 Page: 1 of 25 PAGEID #: 3630
Case: 2:19-cv-04262-ALM-KAJ Doc #: 131 Filed: 10/21/21 Page: 2 of 25 PAGEID #: 3631
Case: 2:19-cv-04262-ALM-KAJ Doc #: 131 Filed: 10/21/21 Page: 3 of 25 PAGEID #: 3632
Case: 2:19-cv-04262-ALM-KAJ Doc #: 131 Filed: 10/21/21 Page: 4 of 25 PAGEID #: 3633
Case: 2:19-cv-04262-ALM-KAJ Doc #: 131 Filed: 10/21/21 Page: 5 of 25 PAGEID #: 3634

                                                                Exhibit C
Case: 2:19-cv-04262-ALM-KAJ Doc #: 131 Filed: 10/21/21 Page: 6 of 25 PAGEID #: 3635
Case: 2:19-cv-04262-ALM-KAJ Doc #: 131 Filed: 10/21/21 Page: 7 of 25 PAGEID #: 3636
Case: 2:19-cv-04262-ALM-KAJ Doc #: 131 Filed: 10/21/21 Page: 8 of 25 PAGEID #: 3637
Case: 2:19-cv-04262-ALM-KAJ Doc #: 131 Filed: 10/21/21 Page: 9 of 25 PAGEID #: 3638
Case: 2:19-cv-04262-ALM-KAJ Doc #: 131 Filed: 10/21/21 Page: 10 of 25 PAGEID #: 3639
Case: 2:19-cv-04262-ALM-KAJ Doc #: 131 Filed: 10/21/21 Page: 11 of 25 PAGEID #: 3640
Case: 2:19-cv-04262-ALM-KAJ Doc #: 131 Filed: 10/21/21 Page: 12 of 25 PAGEID #: 3641
Case: 2:19-cv-04262-ALM-KAJ Doc #: 131 Filed: 10/21/21 Page: 13 of 25 PAGEID #: 3642
Case: 2:19-cv-04262-ALM-KAJ Doc #: 131 Filed: 10/21/21 Page: 14 of 25 PAGEID #: 3643
Case: 2:19-cv-04262-ALM-KAJ Doc #: 131 Filed: 10/21/21 Page: 15 of 25 PAGEID #: 3644
Case: 2:19-cv-04262-ALM-KAJ Doc #: 131 Filed: 10/21/21 Page: 16 of 25 PAGEID #: 3645
Case: 2:19-cv-04262-ALM-KAJ Doc #: 131 Filed: 10/21/21 Page: 17 of 25 PAGEID #: 3646


  From:             Zbiegien Jr. Michael J.
                                                                                                     Exhibit F
  To:               Todd Neuman
  Cc:               Rick Ashton; Jeff Corcoran; Larsen Lynn Rowe; Abrams James D.; Bryan Daniel H.
  Subject:          RE: Depositions
  Date:             Friday, July 16, 2021 12:25:48 PM


  Todd,

  At the end of the deposition, you said you wanted to schedule the 30(b)(6) deposition in October, not August. In any
  event, without topics, we can’t really discuss scheduling and due to trial schedules on our team, August is going to be
  difficult.

  We will let you know if we are representing Mr. Haenel.

  Mike




  Taft /
                    Michael J. Zbiegien Jr.
                    Partner
                    mzbiegien@taftlaw.com
                    Dir: 216.706.3962   |   Cell: 216.375.8421
                    Tel: 216.241.2838   |   Fax: 216.241.3707
                    200 Public Square, Suite 3500
                    Cleveland, Ohio 44114-2302


                    taftlaw.com



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  From: Todd Neuman <neuman@aksnlaw.com>
  Sent: Thursday, July 15, 2021 6:56 PM
  To: Zbiegien Jr., Michael J. <mzbiegien@taftlaw.com>
  Cc: Rick Ashton <ashton@asnalaw.com>; Jeff Corcoran <corcoran@asnalaw.com>
  Subject: Depositions

  [EXTERNAL MESSAGE]
  Mike,

  I am following up on our conversation at the end of the deposition today. I advised that I will be sending over in the
  near future a notice for a company representative’s deposition for the defendant and that I am requesting that we
  schedule that deposition in Aug. I also advised that I want to then take Lon Haenel’s deposition next in Sept. You
  indicated you presently don’t represent him. Let me know in the next week if you are representing him.




      ALLEN                        TODD NEUMAN
     STOVALL                       17 South High Street
    NEUMAN &                       Suite 1220
                                   Columbus, OH 43215
    ASHTON LLP                     O: (614) 221-8500
                                   F: (614) 221-5988
         — ATTORNEYS —
Case: 2:19-cv-04262-ALM-KAJ Doc #: 131 Filed: 10/21/21 Page: 18 of 25 PAGEID #: 3647


                                             neuman@aksnlaw.com

                          website|map|email                  



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Case: 2:19-cv-04262-ALM-KAJ Doc #: 131 Filed: 10/21/21 Page: 19 of 25 PAGEID #: 3648


  From:             Zbiegien Jr. Michael J.
                                                                                                      Exhibit G
  To:               Todd Neuman
  Cc:               Larsen Lynn Rowe; Abrams James D.; Rick Ashton; Jeff Corcoran; Bryan Daniel H.
  Subject:          RE: Ewalt v GateHouse Media Ohio Holdings II, Inc. - deposition
  Date:             Tuesday, August 3, 2021 9:50:59 AM


  Todd,

  Good morning. We will look over the Rule 30(b)(6) topics. However, as I previously noted we have a trial scheduled in
  another matter so August dates aren’t going to work for us. In fact, we are on a standby list for the two weeks from
  August 23 – Sept. 3. I will get back to you regarding days in September that won’t work for Lon Haenel’s deposition and
  regarding Denise Robbins.

  Mike




  Taft /
                    Michael J. Zbiegien Jr.
                    Partner
                    mzbiegien@taftlaw.com
                    Dir: 216.706.3962   |   Cell: 216.375.8421
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  From: Todd Neuman <neuman@aksnlaw.com>
  Sent: Monday, August 2, 2021 11:04 PM
  To: Zbiegien Jr., Michael J. <mzbiegien@taftlaw.com>
  Cc: Larsen, Lynn Rowe <llarsen@taftlaw.com>; Abrams, James D. <jabrams@taftlaw.com>; Rick Ashton
  <ashton@asnalaw.com>; Jeff Corcoran <corcoran@asnalaw.com>
  Subject: Re: Ewalt v GateHouse Media Ohio Holdings II, Inc. - deposition

  [EXTERNAL MESSAGE]
  The 27th is no longer available.

  Todd

  Get Outlook for iOS

  From: Todd Neuman
  Sent: Monday, August 2, 2021 3:06:24 PM
  To: Zbiegien Jr., Michael J. <mzbiegien@taftlaw.com>
  Cc: Larsen, Lynn Rowe <llarsen@taftlaw.com>; Abrams, James D. <jabrams@taftlaw.com>; Rick Ashton
  <ashton@asnalaw.com>; Jeff Corcoran <corcoran@asnalaw.com>
  Subject: RE: Ewalt v GateHouse Media Ohio Holdings II, Inc. - deposition

  Mike,

  Good afternoon. Per our previous discussion, attached is the draft Rule 30(B)(6) deposition notice for a company
Case: 2:19-cv-04262-ALM-KAJ Doc #: 131 Filed: 10/21/21 Page: 20 of 25 PAGEID #: 3649


  representative of the defendant. Presently we are available for this deposition on the following dates: Aug. 24, 26, 27,
  30, 31, Sept 3. Please let us know by the end of the week as to availability for this deposition and then I will finalize and
  serve the notice. We also will be scheduling Lon Haenel’s deposition, likely for a day in Sept. You previous indicated
  that you do not represent him. If you have days in September that will not work for Mr. Haenel’s deposition please
  advise me at this time.

  From the last deposition I understand Denise Robbins is no longer employed by Gannett/Gatehouse. Please advise if
  you still represent her and, if not, please provide her last known home address, email address, and cell number.

  Thank you.



                                             TODD NEUMAN
        ALLEN
       STOVALL                               17 South High Street
      NEUMAN &                               Suite 1220
                                             Columbus, OH 43215
      ASHTON LLP                             O: (614) 221-8500
                                             F: (614) 221-5988
          — ATTORNEYS —
                                             neuman@aksnlaw.com

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                                     Alan
 Case: 2:19-cv-04262-ALM-KAJ Doc #: 131     D. 10/21/21
                                        Filed:
                                        6/18/2021                 Exhibit H
                                                Miller Page: 21 of 25 PAGEID #: 3650
                                                                                       1


1                 IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF OHIO
2                           EASTERN DIVISION
3                                       - - -
4    John Ewalt, et al.,            :
                                    :
5           Plaintiffs,             :
                                    :
6           vs.                     :                   Case No.
                                    :                   2:19-CV-4262
7    GateHouse Media Ohio           :
     Holdings II, Inc., d/b/a       :
8    The Columbus Dispatch, et al., :
                                    :
9           Defendants.             :
10                                      - - -
11           CONFIDENTIAL DEPOSITION OF ALAN D. MILLER
12                                      - - -
13
                                  Friday, June 18, 2021
14                                9:30 a.m.
                                  Taft Stettinius & Hollister, LLP
15                                65 East State Street
                                  Suite 1000
16                                Columbus, Ohio 42315
17                                - - -
                           SUSAN L. COOTS, RPR
18                   REGISTERED PROFESSIONAL REPORTER
                                  - - -
19

20

21

22
                   ANDERSON REPORTING SERVICES, INC.
23                    3040 Dublin Road, Suite 125
                         Columbus, Ohio 43221
24                           (614) 326-0177

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           Anderson Reporting Services, Inc. (614) 326-0177
                                     Alan
 Case: 2:19-cv-04262-ALM-KAJ Doc #: 131     D. 10/21/21
                                        Filed:  Miller Page: 22 of 25 PAGEID #: 3651
                                        6/18/2021                                      20


1    A.            The shows group.
2    Q.            What does that mean?
3    A.            Events.
4    Q.            How about Ray?
5    A.            Magazine division.
6    Q.            So you've been in journalism your whole
7    career, basically, and you graduated from a journalism
8    program in college.
9                  Tell me in your own words, what does
10   journalism really stand for and mean to you?
11                 MR. ZBIEGIEN:          Objection.       Form.
12   A.            To gather and disseminate information to the
13   community.
14   Q.            Do you believe that one of the principles
15   should be a full, fair, and complete disclosure?
16   That's one of the things that you're looking for to
17   occur in reporting?
18                 MR. ZBIEGIEN:          Objection.       Form.
19   A.            Fairness and accuracy.
20   Q.            What does that mean, accuracy, to you?
21   Fairness and accuracy, what does that statement mean
22   to you?
23   A.            Means fact-based information.
24   Q.            As part of your role as a journalist, do you

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                                     Alan
 Case: 2:19-cv-04262-ALM-KAJ Doc #: 131     D. 10/21/21
                                        Filed:  Miller Page: 23 of 25 PAGEID #: 3652
                                        6/18/2021                                      21


1    seek to shine light when businesses are misleading the
2    public?
3                  MR. ZBIEGIEN:          Objection.       Form.
4    A.            We seek facts and information and share that
5    with the public.
6    Q.            Isn't one of the things that you're seeking
7    to do is to shine a light when you feel businesses are
8    not acting appropriately with the public?
9                  MR. ZBIEGIEN:          Objection.       Argumentative.
10   Form.
11   A.            We seek to cover businesses in many ways.
12   Q.            Is that one of the ways or not?
13                 MR. ZBIEGIEN:          Same objection.
14   A.            As you said, we seek to be fair and accurate
15   in our reporting on all topics.
16   Q.            Do you believe that The Dispatch should act
17   honorably and ethically in dealing with its
18   subscribers?
19                 MR. ZBIEGIEN:          Objection.       Foundation.
20   Form.
21   A.            We seek to serve our customers, yes.
22   Q.            You're not answering what I'm asking you.
23   I'm asking a very specific question.
24                 Do you believe that The Dispatch should act

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           Anderson Reporting Services, Inc. (614) 326-0177
                         Bradley
 Case: 2:19-cv-04262-ALM-KAJ Doc #:M.
                                    131Harmon    - CONFIDENTIAL
                                        Filed: 10/21/21 Page: 24 of 25 PAGEID #: 3653
                                        6/3/2021                                        1


1                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO
2                              EASTERN DIVISION
3

4        JOHN EWALT, et al.,                 )
                                             )
5                    Plaintiffs,             )
                                             )
6        vs.                                 ) Case No. 2:19-cv-4262
                                             ) Judge Algenon L Marbley
7        GATEHOUSE MEDIA OHIO                )
         HOLDINGS II, INC.,                  )
8        d/b/a THE COLUMBUS                  )
         DISPATCH, et al.,                   )
9                                            )
                     Defendants.             )
10

11
                      TRANSCRIPT DESIGNATED CONFIDENTIAL
12                       PURSUANT TO PROTECTIVE ORDER
13                              - - - - -
             THE DEPOSITION TRANSCRIPT OF BRADLEY M. HARMON
14                       THURSDAY, JUNE 3, 2021
                                - - - - -
15

16              The deposition of BRADLEY M. HARMON, called by
17       the Plaintiffs for examination pursuant to the
18       Federal Rules of Civil Procedure, taken before me,
19       the undersigned, Jill A. Kulewsky, RPR and Notary
20       Public within and for the State of Ohio, taken at
21       the offices of Taft Stettinius & Hollister, 200
22       Public Square, Suite 3500, Cleveland, Ohio,
23       commencing at 9:31 a.m., the day and date above set
24       forth.

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                         Bradley
 Case: 2:19-cv-04262-ALM-KAJ Doc #:M.
                                    131Harmon    - CONFIDENTIAL
                                        Filed: 10/21/21 Page: 25 of 25 PAGEID #: 3654
                                        6/3/2021                                      117


1    Q    Well, that's different.             That's cancelling the
2         whole subscription.            I'm just focused on, I
3         don't want to cancel my subscription, but I
4         don't want to get the premium editions anymore.
5         Why wasn't a subscriber able to do that online
6         if they can do all these other things online
7         that you keep mentioning?              Why weren't they
8         able to do that online?
9                             MR. ZBIEGIEN:         Objection.
10   A    I don't know.
11   Q    You didn't make a conscious decision not to
12        allow that option to the subscriber to make
13        that choice online, despite all these other
14        choices they can make online?
15                            MR. ZBIEGIEN:         Objection.
16        Argumentative.
17   A    Once again, we communicated to our subscribers
18        in many forms the exact disclosure of what
19        they're receiving.
20   Q    That's not what I'm asking.
21   A    I understand.
22   Q    I know you've said that many times, and that's
23        not -- you've said it plenty.                I get what your
24        position is, but I'm not asking about that

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